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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 24-cr-00088-NYW

UNITED STATES OF AMERICA,

               Plaintiff,

v.

TAREK KASSEM,

               Defendant.


                  UNOPPOSED MOTION TO EXCLUDE 180 DAYS
              FROM THE REQUIREMENTS OF THE SPEEDY TRIAL ACT


       The defendant, Tarek Kassem (“Mr. Kassem”), by and through undersigned counsel, David

Kraut, hereby respectfully moves the Court for an Order excluding 180 days from the Speedy Trial

Act computations and vacating the currently scheduled motions and response deadlines, trial

preparation conference and jury trial. The government does not oppose this request.

       In support of this request, Mr. Kassem states:

                            FACTUAL AND PROCEDURAL HISTORY

       Mr. Kassem incorporates herein all factual and procedural background information set

forth in his first Motion to Exclude Time From the Speedy Trial Requirements (ECF 20). Counsel

has now reviewed all discovery produced to date. Mr. Kassem has not yet completed reviewing

this material, in part due to the protective order that prohibits Mr. Kassem from personally

possessing the discovery. Counsel and Mr. Kassem have made arrangements to allow him to

review the discovery at counsel’s office. That process is ongoing.
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         The parties have engaged in productive conferrals regarding the applicable Guideline

provisions and a potential plea agreement. Mr. Kassem needs additional time to complete the

discovery review process and discuss a potential plea agreement with counsel before deciding

whether to proceed to trial or resolve the case by plea agreement.

                               SPEEDY TRIAL CALCULATION

         The 70-day speedy trial period began to run at Mr. Kassem’s first appearance on March

26, 2024. It tolled between his initial Motion to Exclude Time (ECF 20, filed April 23, 2024) and

the Court’s order granting that motion (ECF 21, filed April 26, 2024). At the time of that order, 38

days remained within the Speedy Trial period. That order excluded 180 days from the Speedy Trial

period. ECF 21.

         On October 7, 2024, during the first 180-day exclusion period, Mr. Kassem filed a second

Motion to Exclude Time (ECF 22), which the Court granted on October 8, 2024 (ECF 23). As a

result of that exclusion and the 38 days remaining when the first motion was filed, the Speedy

Trial period will now expire on April 1, 2025. ECF 23 at 5.

         If the Court grants this motion, 180 days will be excluded from the Speedy Trial period.

Some of those days will overlap with the time excluded pursuant to the Court’s previous order

(ECF 23). However, Mr. Kassem asks the Court to exclude 180 days in addition to the previously

excluded time. If the Court grants this component of the request, the new exclusion period would

begin on April 1, 2025 and the speedy trial period will extend to (at least) Monday, September

29, 2025. 1 See 18 U.S.C. § 3161(h)(1)(D) (“delay resulting from any pretrial motion, from the

filing of the motion through the conclusion of the hearing on, or other prompt disposition of, such

motion” shall be excluded from the speedy trial period).



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    180 days from April 1, 2025, falls on Sunday, September 28, 2025.
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                                      LEGAL AUTHORITY

       This Court is authorized under 18 U.S.C. § 3161(h)(7) to exclude from the time limitations

set forth in the Speedy Trial Act any delay for which the ends of justice served by the delay

outweigh the best interest of the public and the defendant in a speedy trial. One factor for the Court

to consider in granting this delay is “[w]hether the failure to grant such a continuance in the

proceeding would be likely to make a continuation of such proceeding impossible, or result in a

miscarriage of justice.” 18 U.S.C. § 3161(h)(7)(B)(i). An additional factor, set forth in 18 U.S.C.

§ 3161(h)(7)(B)(iv), is whether failure to grant such a continuance “would deny counsel for the

defendant . . . the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.”

       In evaluating a request for an ends of justice continuance, “the record must clearly establish

the district court considered the proper factors at the time such a continuance was granted.” United

States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009) (quoting United States v. Gonzales, 137

F.3d 1431, 1433 (10th Cir. 1998)). The record must contain an explanation for why the occurrence

of the event identified by the moving party as necessitating the continuance results in the need for

additional time. See id. at 1271. Simply stating the event followed by a conclusory statement that

the event necessitates further time does not satisfy the requirements of the Speedy Trial Act. See

id. at 1271-72.

       In United States v. West, 828 F.2d 1468, 1470 (10th Cir. 1987), the Tenth Circuit set forth

four factors a court should consider when evaluating if a continuance should be granted: (1) the

diligence of the party requesting the continuance, (2) the likelihood that the continuance, if granted,

would accomplish the purpose underlying the request for continuance, (3) the inconvenience to

the opposing party, its witnesses, and the court resulting from the continuance, and (4) the need


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asserted for the continuance and the harm that could be suffered as a result of the court’s denial of

the continuance.

       “Before deciding whether to plead guilty, a defendant is entitled to the ‘effective assistance

of competent counsel.’” Padilla v. Kentucky, 559 U.S. 356, 364 (2010) (quoting McMann v.

Richardson, 397 U.S. 759, 771 (1970); Strickland v. Washington, 466 U.S. 668, 686 (1984)). In

this context, effective representation requires “counsel’s informed opinion as to what pleas should

be entered.” United States v. Carter, 130 F.3d 1432, 1442 (10th Cir. 1997).

                                           ARGUMENT

       Defense counsel’s request for a continuance in this case satisfies the criteria set forth in 18

U.S.C. § 3161(h)(7).

       The ends of justice served by this requested delay either outweigh or serve the best interest

of the public and Mr. Kassem. First, proceeding within the current time requirements would deny

counsel for the defendant the reasonable time necessary for effective preparation, which includes

the time necessary to discuss all discovery material with Mr. Kassem after he has had the

opportunity to review it, conduct and review all results of the necessary defense investigation, and

accurately advise Mr. Kassem regarding the possibility of resolving the case by plea agreement,

the likelihood of conviction at trial as well as the likely sentence if convicted.

       Defense counsel’s request for a continuance in this case also satisfies the factors set forth

in West.

       First, defense counsel has been diligent in reviewing discovery and in the timeliness of this

request. Defense counsel completed a thorough review of written discovery material soon after

receiving it and continues to review the audio/video recordings produced. Further, defense counsel

has shown diligence in this request by making it before the scheduled jury trial.


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       Second, it is likely that this continuance would accomplish the underlying purpose of this

request. Excluding 180 days from the requirements of the Speedy Trial Act should allow defense

counsel the time to review all discovery, review defense investigation results, effectively advise

Mr. Kassem regarding possible motions issues, trial defenses, and the plea negotiation process,

and to present further information to the government in connection with negotiations. This type of

thorough evaluation is necessary to advise Mr. Kassem as to his options and potential strategies

for his defense. A 180-day continuance would allow defense counsel time to accomplish these

purposes, all of which are necessary to provide Mr. Kassem with full and effective assistance of

counsel.

       Third, based on the government’s lack of opposition to this motion, the defense asserts that

the 180-day continuance sought in this matter will not prejudice the government. In part, the

request for a 180-day exclusion is made following conferral with government counsel regarding

counsels’ respective calendars. This exclusion will allow both parties to accept a trial date within

the Speedy Trial period.

       The final West factor is the need asserted for the continuance and the harm that the

defendant might suffer as a result of a denial. The need for the continuance is described

throughout this motion. Without the requested continuance defense counsel will be unable to

adequately advise Mr. Kassem regarding the discovery, results of defense investigation, and

the possibility of resolving the case by plea agreement. Without the exclusion of a period of

time from the speedy trial calculations, defense counsel will be unable to provide effective

assistance of counsel and Mr. Kassem’s right to be effectively represented in these proceedings

will be seriously damaged.




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                                        CONCLUSION

       Wherefore, Mr. Kassem respectfully requests this Court for an Order vacating all current

deadlines and the trial date and excluding 180 days from the Speedy Trial Act computations, as

authorized by 18 U.S.C. § 3161(h)(7).

                                           Respectfully submitted,

                                           VIRGINIA L. GRADY
                                           Federal Public Defender



                                           s/ David Kraut
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                                CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2025, I filed the foregoing Unopposed Motion to
Exclude 180 Days from the Requirements of the Speedy Trial Act with the Clerk of Court using
the CM/ECF system, which will send notification of such filing to the following email address:

       Nicole C. Cassidy, Assistant United States Attorney
       E-mail: Nicole.Cassidy@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Tarek Kassem (via U.S. mail)

                                           s/ David Kraut
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